Case 8:19-cr-00045-JLS Document 4 Filed 03/11/19 Page1of1 Page ID #:15

Memorandum

p19 CROOOAS JUS

 

 

 

 

Subject: Date:

United States v. Michael Miller March 7, 2019

To: From: \ me
KIRY K. GRAY Ashwin Janakiram | Tob =
Clerk, United States District Court Assistant United States Attorney On aa

Central District of California Criminal Division ce 2

For purposes of determining whether the above-referenced matter, being filed on |

March

(a)

8, 2019 :

should be assigned to the Honorable André Birotte Jr., it

Uis

(b)

is not

a matter that was pending in the United States Attorney’s Office (USAO) on or before
August 8, 2014, the date the Honorable André Birotte Jr. resigned from his position as the
United States Attorney for the Central District of California.

should be assigned to the Honorable Michael W. Fitzgerald, it
LJ is
is not

(1) a matter that was pending in the Terrorism and Export Crimes Section in the USAO’s
National Security Division on or before August 3, 2015; (2) a matter pending in the
USAO’s National Security Section in the USAO’s Criminal Division on or before August
3, 2015, or a matter in which the National Security Section was previously involved; (3) a
matter pending in the USAO’s National Security Division on or after September 14,
2016; or (4) a matter in which Assistant United States Attorney Patrick R. Fitzgerald is or
has been personally involved or on which he has personally consulted while employed in

the USAO. {2 —~

ASHWIN JA
Assistant Uriited States A Attorney

 
